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FILED

2020R00345/DEM/AMT/VSL
FEB 05 2024
UNITED STATES DISTRICT COURT Uf of Lf -
DISTRICT OF NEW JERSEY och SO -treteradaar ns
i OTP emo
UNITED STATES OF AMERICA Hon, (SDW)
y. Crim, No, 24-80
ARTUR SUNGATOV, and : 18 U.S.C. § 371
IVAN KONDRATYEV, ‘ 18 U.S.C. § 1349
a/k/a “Ivan Gennadievich ; 18 U.S.C. § 1030(a)(5) (A)
Kondratiev,” : 18 U.S.C. § 2

a/k/a “Ivan Kondratev,”
a/k/a “Bassterlord”

INDICTMENT

The Grand Jury in and for the District of New Jersey, sitting at Newark,

charges as follows:

COUNT 1
(Conspiracy to Commit Fraud and
Related Activity in Connection with Computers)

Overview
1. From at least as early as in or around January 2020 through the
present, defendants ARTUR SUNGATOV (“SSUNGATOV”), IVAN KONDRATYEV,
a/k/a “Ivan Gennadievich Kondratiey,” a/k/a “Ivan Kondratev,” a/k/a “Bassterlord”
(“KONDRATYEV”), and others (collectively, the “Conspirators”) were part of a
conspiracy to deploy a ransomware variant known as “LockBit,” a prolific form of
malware and, at relevant times, the most deployed ransomware variant across the
world. Since in or around January 2020 and continuing through the present, LockBit
has been deployed against more than 2,000 victims, including victims in the District

of New Jersey, and the Conspirators have received more than $120 million in ransom

payments.

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Relevant Individuals, Entities, and Terms

2. At times relevant to this Indictment:
a. SUNGATOV was a citizen of, and resided in, the Russian
Federation.
b, KONDRATYEV was a citizen of the Russian Federation and
resided in either Ukraine or the Russian Federation,
C. Mikhail Pavlovich Matveev (“Matveev”), also known as

oy tt

“Wazawaka,” “mix,” “Boriselcin,’ and “Uhodiransomwar,” a Conspirator who was
previously charged for his participation in the LockBit conspiracy, was a citizen of,
and resided in, the Russian Federation.

d, Mikhail Vasiliev (“Vasiliev”), a Conspirator who was previously
charged for his participation in the LockBit conspiracy, was a citizen of both Canada
and the Russian Federation and resided in Canada.

e, Application-1 was a file hosting service.

f. Application-2 was a social media platform where users could
share and post text messages, images, and videos, as well as directly message other
users.

g. Victim-1 was a law enforcement agency in Passaic County, New
Jersey.

h. Victim-2 was a business in Dakota, Minnesota with operations
and computers in New Jersey.

i.  Victim-3 was a manufacturing company based in Zumbrota,

Minnesota,

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j. Victim-4 was a third-party logistics provider headquartered in

Bloomington, Indiana.

k, Victim-5 was a manufacturing company based in Portland,
Oregon,

lL Victim-6 was an insurance company based in San Juan, Puerto
Rico.

m. Victim-7 was an intelligent automation and energy management

solutions company with its headquarters in Waukesha, Wisconsin.

n, Victim-8 was a business in Essex County, New Jersey.

0, Victim-9 was a medical clinic based in Panama City, Florida.

p. Victim-10 was a hotel located in Sante Fe, New Mexico.

q. Victim-11 was a city in Puerto Rico.

r. Victim-12 was an engineering consulting services firm with an

office in Morton, Tlinois.

8, Victim-13 was a brokerage firm with its headquarters in New
York, New York.

t. Victim-14 was a wholesale and distribution company with its
headquarters in Singapore.

u. Victim-15 was a multinational semiconductor manufacturing
company with its headquarters in Hsinchu, Taiwan.

v. Victim-16 was an international law firm with its headquarters in

Beirut, Lebanon.

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Ww. “Ransomware” was a type of malware that allowed a perpetrator
to encrypt some or all of the data stored on a victim computer, transmit some or all
of the victim’s data to another computer under the perpetrator’s control, or both.
After a ransomware attack, a perpetrator would typically demand a ransom payment
from the victim in exchange for decrypting the victim’s data, deleting the
perpetrator’s copy of the victim’s stolen data, or both,

The Conspiracy

3. From at least as early asin or around January 2020 through the present,

in the District of New Jersey and elsewhere, the defendants
ARTUR SUNGATOYV, and
IVAN KONDRATYEYV,
a/k/a “Ivan Gennadievich Kondratiev,”
a/k/a “Ivan Kondratev,”

a/k/a “Bassterlord,”
who will first be brought to the District of New Jersey within the meaning of 18
U.S.C. § 8238, did knowingly and intentionally conspire and agree with each other
and with Matveev, Vasiliev, and the other Conspirators to commit offenses against
the United States, that is:

a. to knowingly cause the transmission of a program, information,
code, and command, and, as a result of such conduct, intentionally cause damage
without authorization to a protected computer, and cause loss to persons during a 1-
year period from the Conspirators’ course of conduct affecting protected computers
aggregating at least $5,000 in value, and cause damage affecting 10 or more

protected computers during a 1-year period, contrary to Title 18, United States

Code, Section 1030(a)(5)(A) and (c)(4)(B)@); and
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b. to knowingly and with intent to extort from any person any
money or other thing of value, transmit in interstate and foreign commerce any
communication containing a threat to obtain information from a protected computer
without authorization and to impair the confidentiality of information obtained
from a protected computer without authorization and by exceeding authorized
access, and a demand and request for money and other thing of value in relation to
damage to a protected computer, where such damage was caused to facilitate the
extortion, contrary to Title 18, United States Code, Section 10380(a)(7)(B), (a)(7)(C),
and (c)(8)(A),

Goal of the Conspiracy

4. The goal of the conspiracy was for SUNGATOV, KONDRATYEYV,
Matveev, Vasiliev, and the other Conspirators to enrich themselves by: (a) developing
the LockBit ransomware variant, maintaining LockBit infrastructure (e.g., computer
servers and affiliate control panels, among other utilities) and hacking into and
deploying LockBit against victim computer systems; (b) demanding and extracting
ransom payments from victims following successful LockBit attacks; and (c) extorting
noncompliant victims and intimidating future victims by, among other things,
posting those victims’ stolen data on the Internet through a website known as a “leak
site” (the “LockBit Data Leak Site”).

Manner and Means of the Conspiracy

5. It was part of the conspiracy that:
a. The LockBit conspiracy operates through the “ransomware-as-a-

service” model, or “RaaS”. The RaaS model involves two related groups of

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ransomware perpetrators: developers and affiliates. The developers design the
ransomware code itself, much as a software company. would, and maintain the
infrastructure, such as servers, on which LockBit operates. The developers then
recruit and market their ransomware product to affiliates, who actually deploy the
ransomware product designed by the developers.

b, The LockBit ransomware variant relies on a “control panel” for
its operation, In the ransomware context, a “control panel” is a software dashboard
made available to an affillate by the developers to both provide that affiliate with
tools necessary for the deployment of ransomware attacks and to allow developers to
monitor their affiliates’ activities. The LockBit control panel allowed affiliates, to,
among other things, develop custom builds of the LockBit ransomware for particular
victims, communicate with LockBit victims for ransom negotiation, and publish data
stolen from LockBit victims to the LockBit Data Leak Site.

c. Much of the LockBit infrastructure, including the various LockBit
control panels and the LockBit Data Leak Site, were hosted on the dark web. The
“dark web” comprises Internet content that requires specialized software or
configurations to access and is intended for anonymous and untraceable online
communication.

d. Once a new affiliate joined the LockBit ransomware conspiracy,
that affiliate was given their own control panel hosted at a unique domain name on
the dark web.

Qe. A LockBit attack typically begins with affiliates gaining

unauthorized access to vulnerable computer systems, through hacking, network

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penetration techniques, and the use of stolen access credentials purchased from third
parties. Affiliates then deploy LockBit within the victim computer systems, allowing
affiliates to exfiltrate documents and data on the victim computer systems and to
encrypt the data on the victim computer systems.

f. After LockBit has been deployed, affiliates leave behind a ransom
note that provides the victim with instructions for how to contact the affiliate and a
threat to publicly share the victim’s stolen data and to leave the victim’s data
encrypted and thus inaccessible to the victim.

g. After ransom negotiations have begun, affiliates will demand a
ransom payment in exchange for either decrypting the data on the victim’s system
and/or agreeing to not publicly post data exfiltrated from the victim system on the
LockBit Data Leak Site. Affiliates typically demand payment in Bitcoin, a digital
currency that allows Bitcoin holders to transfer their Bitcoin, stored at locations
called “Bitcoin addvesses,” to other Bitcoin users at those users’ Bitcoin addresses.
As part of the Bitcoin framework, Bitcoin maintains a publicly available and
reviewable ledger that records every Bitcoin transaction ever made, including
sending and receiving Bitcoin addresses, date of transaction, and amount of Bitcoin
transferred.

h. If the victim ultimately agrees to make a ransom payment, the
affiliate typically sends the victim a Bitcoin address to send the demanded ransom,
The affiliate and the developer will then split the payment between themselves.
Typically, the developer receives 20% of the ransom payment and the affiliate

receives 80% of the ransom payment,
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Overt Acts
6. In furtherance of the conspiracy, and to effect its objects, Defendants
and others committed the following overt acts, among others, in the District of New
Jersey, and elsewhere:

a. On or about June 25, 2020, Matveev and the Conspirators
deployed LockBit against Victim-1.

b. On or about September 14, 2020, Matveev and the Conspirators
deployed LockBit against Victim-2.

C. In or around January 2021, SUNGATOV funded accounts on
Application-1 that were used in connection with LockBit attacks on Victim-3 and
Victim-4.

d. On or about January 12, 2021, SUNGATOV and the Conspirators
deployed LockBit against Victim-3.

e. On or about January 29, 2021, SUNGATOY and the Conspirators
deployed LockBit against Victim-4.

f. In or around August 2021, KONDRATYEV and the Conspirators
deployed LockBit against Victim-5.

g, In or around August 2021, SUNGATOV and the Conspirators
deployed LockBit against Victim-6.

h. On or about September 20, 2021, SUNGATOV and the
Conspirators deployed LockBit against Victim-7.

1. On or about November 21, 2021, Vasiliev and the Conspirators

deployed LockBit against Victim-8.
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j. In or around June 2022, SUNGATOV and the Conspirators
deployed LockBit against Victim-9.

k, On or about August 18, 2022, SUNGATOV and the Conspirators
deployed LockBit against Victim-10.

1. In or around September 2022, KONDRATYEV and _ the
Conspirators deployed LockBit against Victim-11.

m. On or about January 2, 2023, KONDRATYEV and the
Conspirators deployed LockBit against Victim-12.

n. On or about April 10, 2023, KONDRATYEYV, using an account at
Application-2, publicly posted screenshots from inside the LockBit affiliate panel that
depicted the attack on Victim-12.

0. In or around May 2028, KONDRATYEV and the Conspirators
deployed LockBit against Victim-13,

p. On or about May 2, 2023, the LockBit Data Leak Site identified
Victim-13 as a LockBit victim whose data would be published if Victim-13 did not pay
the ransom demand, On or about May 11, 2028, KONDRATYEYV sent direct messages
to another user on Application-2 regarding the LockBit attack against Victim-13.
Specifically, KONDRATYEV wrote: “I have a very large amount of data marked
candy from their customers. They should pay soon. [’m just negotiating with the
company at the moment.”

q. In or around June 2023, KONDRATYEY and the Conspirators

deployed LockBit against Victim-14.

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Y. In or around June 2028, KONDRATYEV and the Conspirators
deployed LockBit against Victim-15.

S. In or around July 20238, KONDRATYEV and the Conspirators
deployed LockBit against Victim-16.

All in violation of Title 18, United States Code, Section 371.

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COUNT 2
(Conspiracy to Commit Wire Fraud)

1. The allegations in paragraphs 1, 2, and 4 through 6 of Count 1 of this
Indictment are re-alleged and incorporated as though fully set forth in this
paragraph.

2. From at least as early as in or around January 2020 through the present,
in the District of New Jersey and elsewhere, the defendants,

ARTUR SUNGATOV, and
IVAN KONDRATYEV,
a/k/a “Ivan Gennadievich Kondratiev,”
alk/a “Ivan Kondratev,”
a/k/a “Bassterlord,”
who will first be brought to the District of New Jersey within the meaning of 18 U.S.C,
§ 3238, did knowingly and intentionally conspire with each other and with Matveev,
Vasiliev, and the other Conspirators to devise, and intend to devise, a scheme and
artifice to defraud and to obtain money and property by means of materially false and
fraudulent pretenses, representations, and promises, and, for the purpose of
executing and attempting to execute such scheme and artifice to defraud, did
transmit and cause to be transmitted by means of wire communications in interstate
and foreign commerce, certain writings, signs, signals, pictures, and sounds, contrary

to Title 18, United States Code, Section 1343,

In violation of Title 18, United States Code, Section 1349.

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COUNTS 3 THROUGH 8
(Computer Fraud and Abuse)

1. The allegations in paragraphs 1, 2, and 4 through 6 of Count 1 of this
Indictment are re-alleged and incorporated as though fully set forth in this
paragraph.

2. On or about each of the dates set forth below, the defendant,

ARTUR SUNGATOV,
who will first be brought to the District of New Jersey within the meaning of 18 U.S.C,
§ 3238, did knowingly cause the transmission of a program, information, code, and
command, and, as a result of such conduct, intentionally cause damage without
authorization to a protected computer, and the offense caused loss to persons during
a l-year period from the defendant’s course of conduct affecting protected computers

aggregating at least $5,000 in value, described below for each Count, each

transmission constituting a separate Count of this Indictment:

Count 8 January 6, 2021 — January 29, 2021 Victim-3
Count 4 J anuary 29, 2021 ~ February 11, 2021 Victim-4
Count 5 In or around August 2021 Victim-6
Count 6 September 20, 2021 — September 25, 2021 Victim-7
Count 7 In or around June 2022 Victim-9
Count 8 August 18, 2022 — September 20, 2022 Victim-10

In violation of Title 18, United States Code, Section 10380(a)(5)(A) and

(c)(4)(B)G), and Section 2.
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COUNTS 9 THROUGH 15
(Computer Fraud and Abuse)

1. The allegations in paragraphs 1, 2, and 4 through 6 of Count 1 of this
Indictment are re-alleged and incorporated as though fully set forth in this
paragraph.

2. On or about each of the dates set forth below, the defendant,

IVAN KONDRATYEV,

a/k/a “Ivan Gennadievich Kondratiev,”
a/k/a “Ivan Kondratev,”
a/k/a “Bassterlord,”

who will first be brought to the District of New Jersey within the meaning of 18 U.S.C.
§ 3288, did knowingly cause the transmission of a program, information, code, and
command, and, as a result of such conduct, intentionally cause damage without
authorization to a pretected computer, and the offense caused loss to persons during

a 1-year period from the defendant’s course of conduct affecting protected computers

aggregating at least $5,000 in value, described below for each Count, each

transmission constituting a separate Count of this Indictment:

Count 9 In or around August 2021 Victim-5
Count 10 In or around September 2022 Victim-11
Count 11 December 26, 2022 — January 31, 2023 Victim-12
Count 12 In or around May 2023 Victim-138
Count 13 In or around June 2023 Victim-14
Count 14 In or around June 2028 to in or around Victim-15

July 2023

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Count 15 In or around July 2023 Victim-16

In violation of Title 18, United States Code, Section 1080(a)(5)(A) and

(c)(4)(B)(@), and Section 2.

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FORFEITURE ALLEGATION AS TO COUNTS 1 AND 3 THROUGH 15

1, As a result of committing the offenses charged in Counts 1 and 3 through
15 of this Indictment, the defendants charged in each respective count, shall forfeit
to the United States:

a. pursuant to Title 18, United States Code, Sections 982(a)(2)(B) and
1030G), any property, real or personal, constituting, or derived from,
proceeds obtained directly or indirectly as a result of the offenses
charged in Counts 1 and 3 through 15 of this Indictment; and

b. pursuant to Title 18, United States Code, Section 1080(i), all right,
title, and interest in any personal property that was used or intended
to be used to commit or to facilitate the commission of the offenses
charged in Counts 1, and 3 through 15 of this Indictment.

FORFEITURE ALLEGATION AS TO COUNT 2

2. As a result of committing the offense charged in Count 2 of this

Indictment, the defendants,

ARTUR SUNGATOY, and

IVAN KONDRATYEYV,
a/k/a “Ivan Gennadievich Kondratiev,”
alk/a “Ivan Kondratev,”
a/k/a “Bassterlord,”

shall forfeit to the United States, pursuant to Title 18, United States Code, Section
981(a)(1)(C) and Title 28, United States Code, Section 2461, all property, real and
personal, that constitutes or is derived from proceeds traceable to the commission of

the said offenses, and all property traceable thereto,

Substitute Assets Provision
(Applicable to All Forfeiture Allegations)

3. If any of the above-described forfeitable property, as a result of any act

or omission of the defendants:

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(a)
(b)
(c)
(d)
(e)

cannot be located upon the exercise of due diligence;

has been transferred or sold to, or deposited with, a third person;

has been placed beyond the jurisdiction of the Court;

has been substantially diminished in value; or

has been commingled with other property which cannot be subdivided

without difficulty,

it is the intent of the United States, pursuant to Title 21, United States Code, Section

853(p), as incorporated by Title 28, United States Code, Section 2461(c), to seek

forfeiture of any other property of the defendant up to the value of the above-described

forfeitable property.

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A-ERUE BILL

FOREPERSON

PHILIP R. SELLINGER
United States Attorney

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CASE NUMBER: 24-80(SDW)

United States District Court
District of New Jersey

UNITED STATES OF AMERICA
Vv.
ARTUR SUNGATOV, and
IVAN KONDRATYEV,
a/k/a “Ivan Gennadievich Kondratiev,”
a/k/a “Bassterlord”

INDICTMENT FOR
18 U.S.C. § 371

18 U.S.C. § 1349
18 U.S.C. § 1030(a)(5)(A)
18 U.S.C. § 2

yes

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